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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


 EXPRESS MOBILE, INC.,

        Plaintiff,
 v.                                                              No. 2:17-CV-00130-JRG-RSP
                                                                                     (Lead)
 SVANACO, INC.,

         Defendant.


 BIGCOMMERCE, INC.,                                              No. 2:17-CV-00160-JRG-RSP
                                                                               (Consolidated)
         Defendant.



                      DECONSOLIDATION AND TRANSFER ORDER
  .
         The Court GRANTS BigCommerce, Inc.’s Amended Motion to Dismiss for Improper

  Venue [Dkt. # 13], GRANTS the parties’ Joint Motion and Stipulation Regarding Transfer to

  the United States District Court for the Northern District of California [Dkt. # 35], and

  DENIES BigCommerce’s Motion to Transfer Pursuant to 28 U.S.C § 1404(a) [Dkt. # 19] as

  MOOT. Accordingly, the Court ORDERS the District Clerk to (1) deconsolidate these cases;

  (2) following deconsolidation, immediately transfer Case No. 2:17-CV-00160-JRG-RSP to the

  United States District Court for the Northern District of California; and (3) close Case No.

  2:17-CV-00130-JRG-RSP.
         SIGNED this 3rd day of January, 2012.
         SIGNED this 29th day of May, 2018.




                                                   ____________________________________
                                                   ROY S. PAYNE
                                                   UNITED STATES MAGISTRATE JUDGE
